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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DIANA C. VALLE, et al.,

              Plaintiffs,

      v.                                              Civil Action No. 1:19-cv-03764 (CJN)

ANTONIS KARAGOUNIS, et al.,

              Defendants.


                                 MEMORANDUM OPINION

       Plaintiffs bring civil rights claims against a restaurant and its proprietors. See generally

Compl., ECF No. 1. Upon Defendants’ motion, the Court struck an earlier-filed Amended

Complaint after concluding that Plaintiffs had failed to comply with Federal Rule of Civil

Procedure 15(a). See generally Valle v. Karagounis, No. 1:19-cv-03764, 2020 WL 4039306

(D.D.C. Jul. 16, 2020). Plaintiffs now renew their motion for leave to amend under Federal

Rules of Civil Procedure 6(b)(1)(B) and 16(b)(4). See generally Pls.’ Mot. for Leave to Amend

Compl. and to Add Pls. and Add’l Counts (“Mot.”), ECF No. 21; see also Pls.’ Supp. Mot. for

Leave to Amend Compl. and to Add Pls. and Add’l Counts (“Supp. Mot.”), ECF No. 24. For the

reasons explained below, the Court grants leave to amend in part and denies it in part.

                                       I.      Background

       The Court’s previous Opinion on this matter provides the background surrounding

Plaintiffs’ earlier failed attempt to amend. See Valle, 2020 WL 4039306 at *1. As relevant here,

after Defendants answered the Complaint, ECF No. 8, the Court ordered the Parties to meet and

confer under Local Civil Rule 16.3, see Min. Order of Feb. 21, 2020. The Parties jointly

proposed a schedule for discovery, see generally Joint Meet & Confer Statement, ECF No. 10,



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which the Court adopted in its Scheduling Order, ECF No. 11. The Scheduling Order fixed May

15, 2020, as the “[d]eadline to [j]oin [a]dditional [p]arties or [a]mend [p]leadings.” Id.

       Plaintiffs attempted to file an Amended Complaint on that deadline without obtaining

either Defendants’ consent or leave of Court as required under Federal Rule of Civil Procedure

15(a). See generally Pls.’ Purported Am. Compl., ECF No. 12. The pleading purported to add

two new counts alleging common-law torts, three new named plaintiffs who allegedly

experienced similar discrimination at Defendants’ restaurant on separate occasions, and four

“Jane Doe” plaintiffs who supposedly also experienced discrimination but whose identities were

unknown to Plaintiffs’ counsel and who had not consented to join the suit. See Valle, 2020 WL

4039306 at *1. Defendants moved to strike the new pleading for failure to comply with Rule 15

and to dismiss the Jane Doe Plaintiffs. See generally Defs.’ Mot. to Strike Am. Compl. and to

Dismiss Claims Asserted by “Jane Doe” Pls., ECF No. 13. The Court granted Defendants’

motion and struck the pleading in its entirety but left open the possibility that Plaintiffs might

renew their attempt to amend by “show[ing] good cause for amending the Scheduling Order

under Federal Rule of Civil Procedure 16(b) or seek[ing] an extension of the deadline to amend

‘because of excusable neglect’ under [Rule] 6(b)(1)(B).” Valle, 2020 WL 4039306 at *4.

       Plaintiffs have now attempted to do just that. The original Complaint named four

Plaintiffs (all of whom were allegedly present together in Defendants’ restaurant on the same

evening and who experienced the alleged discrimination) and contained three counts: (I)

discrimination under Title II of the Civil Rights Act of 1964, 42 U.S.C. § 2000a et seq., Compl.

¶¶ 56–62; (II) discrimination under the D.C. Human Rights Act (DCHRA), D.C. Code § 2-

1401.01 et seq., Compl. ¶¶ 63–68; and (III) common-law false imprisonment, id. ¶¶ 69–76. On

August 7, 2020, Plaintiffs moved for leave to amend. See generally Mot. The proposed




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Amended Complaint attempts to add the same seven new Plaintiffs, including two plaintiffs who

allege that they experienced similar discrimination at the same restaurant together on a different

date, see Proposed Am. Compl. at 4, ECF No. 21-6, one plaintiff (Melle Poyry Tibe) who alleges

the same conduct on yet another occasion, see id. at 3, and four “Jane Doe” plaintiffs—Tibe’s

companions on the evening in question whose identities remain unknown and who have not,

apparently, consented to participate in this suit, see id. Moreover, the pleading contains new

common-law claims for assault, id. ¶¶ 150–57, and intentional infliction of emotional distress, id.

¶¶ 158–67.

          Just as briefing concluded on Plaintiffs’ Motion, Plaintiffs filed yet another Motion, see

generally Supp. Mot., which incorporates the arguments Plaintiffs made in their August 7

Motion but revises the Proposed Amended Complaint by dropping the “Jane Doe” plaintiffs, see

Pls.’ Rev. Proposed Am. Compl. at 1, ECF No. 24-1, and adding a common-law claim for

slander per se, id. ¶¶ 150–59. Defendants oppose both Motions. See generally Defs.’ Opp’n to

Pls.’ Mot. for Leave to File Am. Compl. (“Opp’n”), ECF No. 25; Defs.’ Opp’n to Pls.’ Supp.

Mot. for Leave to File Am. Compl. and to Add Add’l Parties & Counts (“Supp. Opp’n”), ECF

No. 27.

                                           II.     Analysis

          Taken together, the Motions pose the following questions at the outset: whether

Plaintiffs have shown good cause to modify the Scheduling Order to amend their Complaint,

Fed. R. Civ. P. 16(b)(4); or, alternatively, whether to amend the Scheduling Order to extend the

time for moving for leave to amend pleadings because of Plaintiffs’ “excusable neglect,” Fed. R.

Civ. P. 6(b)(1)(B). If Plaintiffs prevail on either of those questions, the Court must determine

whether to grant leave to add the new plaintiffs and claims.




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                                       A.      Good Cause

       As the Court noted in its prior Opinion, because Plaintiffs failed to move for leave to

amend by the deadline under Rule 15(a)’s more liberal standard, they must instead “satisfy the

more stringent ‘good cause’ standard of Rule 16(b)(4).” Valle, 2020 WL 4039306 at *2. “Rule

16(b)’s good cause standard focuses on the timeliness of the amendment and the reasons for its

tardy submission.” Lurie v. Mid-Atl. Permanente Med. Grp., P.C., 589 F. Supp. 2d 21, 23

(D.D.C. 2008) (internal quotation omitted). “[T]he Court's inquiry must focus on the reasons the

plaintiff[s have] given for [their] delay instead of the substance of the proposed amendment.” Id.

“Rule 16(b)'s ‘good cause’ standard emphasizes the diligence of the party seeking the

amendment. Prejudice to the opposing party remains relevant but is not the dominant

criterion. Indifference by the moving party seals off this avenue of relief irrespective of

prejudice because such conduct is incompatible with the showing of diligence necessary to

establish good cause.” O’Connell v. Hyatt Hotels of P.R., 357 F.3d 152, 155 (1st Cir. 2004)

(internal quotations and citations omitted). 1 The decision to permit late amendment is entrusted

to the Court’s discretion. Nourison Rug Corp. v. Parvizian, 535 F.3d 295, 298 (4th Cir. 2008).

       The Parties go to great lengths to debate how far in advance Plaintiffs’ counsel was aware

of the existence of the additional parties and claims, when she obtained the new plaintiffs’

consent to participate in the case, and whether judicial economy would be better served by



1
  Plaintiffs incorrectly argue that “Defendants bear the burden of demonstrating why leave for
Plaintiffs[] to file their Amended Complaint[] should not be granted.” Mot. at 2 (citing LaPrade
v. Abramson, No. 97-cv-10, 2006 WL 3469532, at *3 (D.D.C. Nov. 29, 2006)). LaPrade dealt
with the liberal amendment standards of Rule 15, not with Rule 16’s good-cause standard. See
2006 WL 3469632 at *3 (“Motions to amend are governed by Rule 15(a)”). Under Rule 16, the
burden is on Plaintiffs to show good cause for their failure to amend before the deadline. See
Lurie, 589 F. Supp. 2d at 23–24 (“The plaintiff’s explanation falls woefully short of the ‘good
cause’ required for allowing a plaintiff to amend a complaint under Rule 16(b).”).



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joining the claims together or pursuing parallel litigation. See Mot. at 2–12, 21–24; Opp’n at 3–

5, 6–8. Those arguments are all relevant, but they miss the narrow issue before the Court. This

is not an instance in which Plaintiffs waited months or years beyond the deadline to locate

additional parties or raise new legal theories; Plaintiffs attempted to amend by the Court-imposed

deadline but simply failed to comply with the applicable rules. The relevant inquiry is therefore

not whether Plaintiffs’ counsel was diligent in preparing her amendment in the time leading up to

the deadline but rather whether Plaintiffs have shown good cause for the short delay that resulted

from the Court’s striking of the attempted amendment. Indeed, the Court has already stated that

it would have “freely given” leave to amend (at least in part) if Plaintiffs had only moved for

leave on time, even if Defendants had not consented to the amendment. Valle, 2020 WL

4039306 at *4 (quoting Fed. R. Civ. P. 15(a)(2)).

       At bottom, it appears that Plaintiffs’ counsel simply misunderstood exactly what the

Parties had agreed to when they proposed the May 15 deadline for amending pleadings in their

Joint Meet & Confer Statement. Plaintiffs aver that they had already notified Defendants of the

additional parties and claims and their intent to amend the Complaint by the deadline. See Mot.

at 7. Because Defendants did not communicate any objection at that time, Plaintiffs’ counsel

assumed that Defendants’ generic agreement to permit amendments by May 15 included an

agreement to consent to the specific additional parties and claims without first examining the

amended pleading. See Mot. at 20–21 (citing Warren v. Thompson, 224 F.R.D. 236, 238–39

(D.D.C. 2004)). Defendants did not understand that to be the case; they seem to have assumed

that setting a deadline to amend pleadings meant that the Parties must move for leave to amend

by that date and they did not intend to waive their right to oppose the contents of any particular

amendment. Opp’n at 8–10. To be sure, Plaintiffs’ understanding was incorrect and at odds




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with Federal Rule of Civil Procedure 15(a)(2), see Valle, 2020 WL 4039306 at *2, but a generic

deadline requiring the Parties “to [j]oin [a]dditional [p]arties or [a]mend pleadings” is susceptible

to more than one reasonable interpretation, Scheduling Order at 1.

       Moreover, the length of the delay was minimal; Plaintiffs moved for leave to amend only

three weeks after the Court struck the earlier proposed pleading and fewer than three months

after the original deadline. Much of that time was consumed by briefing on Defendants’ Motion

to Strike (five weeks, including a two-week period between Plaintiffs’ filing and Defendants’

Motion) and the Court’s consideration of the Motion prior to ruling (four weeks)—all outside

Plaintiffs’ control. This is not an instance in which a plaintiff attempts to amend pleadings

months or years after the deadline has passed and discovery is complete. See, e.g., Lurie, 589 F.

Supp. 2d at 24 (“[T]he motion for leave to file an amended complaint was filed almost a year

after the Court's deadline, two years after the defendant's answer, and two weeks after the close

of discovery.”); A Love of Food I, LLC v. Maoz Vegetarian USA, Inc., 292 F.R.D. 142, 143

(D.D.C. 2013) (“Defendant filed the current motion to amend its answer after the close of

discovery . . . and almost two years after the court's deadline for filing an amended answer.”).

       Even if the moving party has been diligent, it “must also show that there is a lack of

prejudice to the opposing party.” Headfirst Baseball LLC v. Elwood, 206 F. Supp. 3d 148, 154

(D.D.C. 2016). Defendants’ best argument is that permitting Plaintiffs to amend now would

require the Court to issue a new Scheduling Order and would require the Parties to extend or

adjust discovery. See Opp’n at 7–8. Defendants have already conducted two depositions and

would be forced to schedule additional depositions, draft and file a new Answer, and exert

resources researching the new claims and investigating the separate acts of alleged




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discrimination against the new plaintiffs. Id. (citing In re Papst Licensing GmbH & Co. v. KG

Litig., 762 F. Supp. 2d 56, 60 (D.D.C. 2011)).

       The case on which Defendants rely, however, demonstrates why there is no meaningful

prejudice here. In Papst, the Court entered a scheduling order on April 8, 2008, that required the

parties to amend their pleadings by June 25, 2008. Id. at 58. Discovery proceeded and was

eventually stayed on November 13, 2008. Id. It was not until October 4, 2010—more than 27

months after the deadline—that plaintiff sought to add three new parties and several new claims.

Id. at 59. The Court held that such a delay unduly prejudiced defendants and declined to permit

the amendment. Id. at 62. The delay here bears little resemblance to the delay in Papst.

       The Court therefore concludes that Plaintiffs have demonstrated good cause for amending

the Scheduling Order under Federal Rule of Civil Procedure 16(b). Because the Court grants

Plaintiffs’ Motion under Rule 16(b), it need not address the arguments under Rule 6, see Mot. at

25–27, 2 or whether Defendants impliedly consented to amendment under Rule 15, see id. at 19–

21. Notably, Defendants did not challenge the substance of Plaintiffs’ Proposed Amended

Complaint in their Opposition brief. See generally Opp’n.

                                   B.      Plaintiffs’ Revision

       Shortly before Defendants filed their Reply brief on Plaintiffs’ Motion for Leave to

Amend, Plaintiffs filed a Supplemental Motion for Leave to Amend. See generally Supp. Mot.



2
  Although the Court indicated in its prior Opinion that Plaintiffs might obtain leave to amend
under either Rule 16’s “good cause” standard or under the less stringent “excusable neglect”
standard of Rule 6, some courts have suggested that Rule 6 does not apply in the context of
motions for leave to amend pleadings after the deadline passes. See, e.g., Sosa v. Airprint Sys.,
Inc., 133 F.3d 1417, 1418 n.2 (11th Cir. 1998) (“[W]hen a motion to amend is filed after a
scheduling order deadline, Rule 16 is the proper guide for determining whether a party's delay
may be excused.”) Because the Court holds that Plaintiffs have carried Rule 16’s tougher
burden, it does not decide whether Rule 6 might alternatively apply.



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Attached to the Supplemental Motion was what Plaintiffs styled a “Revised Proposed Amended

Complaint,” ECF No. 24-1. That document largely mirrors the Proposed Amended Complaint

Plaintiffs filed along with their Rule 16 Motion, but it contains a few notable changes: it (1)

drops the four Jane Doe Plaintiffs and (2) adds an additional count for slander per se. See Rev.

Proposed Am. Compl. ¶¶ 150–59. Plaintiffs explain that their counsel was unaware of the basis

for the slander accusation until Defendants deposed her clients, during which time they

remembered for the first time that Defendants’ employees allegedly threatened to call the police

on them for stealing from the restaurant. See Supp. Mot. at 3–4.

       Defendants oppose granting Plaintiffs leave to amend yet again. See generally Supp.

Opp’n. Much of Defendants’ Opposition brief appears to rehash issues already discussed in the

first round of briefing and therefore seems irrelevant to the narrow question of whether to permit

Plaintiffs to drop the Jane Does and to add the slander count. See generally id.; see also Pls.’

Reply to and Mot. to Strike Defs.’ Opp’n to Pls.’ Supp. Mot. for Leave to Amend Compl. to Add

Pls. and Add’l Counts (“Supp. Reply”) at 2, ECF No. 29. 3 In fact, Defendants do not seem to

oppose dropping the Jane Doe Plaintiffs at all—an issue the Court discussed in its prior Opinion.

See 2020 WL 4039306 at *2–3. Defendants do argue, however, that the new slander count is

time-barred by the District of Columbia’s one-year statute of limitations. See Supp. Opp’n at 7–

8 (citing D.C. Code. § 12-301(4)). Defendants also cursorily argue that the slander claims do not

relate back to Plaintiffs’ original pleading under Federal Rule of Civil Procedure 15(c). See

Supp. Opp’n at 8.


3
 Plaintiffs included in their Reply brief a Motion to Strike the portions of Defendants’
Opposition brief that were not directly responsive to the contents of Plaintiffs’ Supplemental
Motion. See Supp. Reply at 2. The Court does not consider those portions of Defendants’
Opposition brief that do not address the narrow issues presented in Plaintiffs’ Supplemental
Motion, so Plaintiffs’ Motion to Strike is moot.



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       Plaintiffs, in turn, point out that Defendants’ analysis of the issue of relation back was

indeed cursory. See Supp. Reply at 5–6. Plaintiffs fail, however, to give any counterargument:

               Finally, Defendants argue that Plaintiffs’ claim of slander per se is
               time barred. Notably in addressing the issue of the doctrine of
               “relation back” under Rule 15, Defendants’ counsel provides no
               case law to support Defendant (sic) position. While Defendants’
               counsel may regret asking the questions (and badgering Plaintiffs
               Plazas and Gasca LeBaigue) during Plaintiffs’ deposition that
               elicited the facts upon which the claim for slander per se is soundly
               based, the claim is not barred simply because Defendants[] and
               Defendants’ counsel wish or say it is so.

               Ultimately, Defendants’ arguments elude reason, and the paucity of
               the law and case precedents in support thereof, demonstrates
               Defendants’ continued effort to deflect from the merits of Plaintiffs’
               case, and the despicable and unlawful discriminatory “policy” and
               practices Defendant[s] impose upon minority customers.

Id. Plaintiffs’ brief discussion is full of conclusory allegations but devoid of any explanation as

to why the slander claim is timely.

       Plaintiffs’ proposed claim for slander per se does appear to be time-barred. “[A]n

amendment adding a new ground for relief to the complaint must contend with the applicable

statute of limitations.” Jones v. Bernanke, 557 F.3d 670, 674 (D.C. Cir. 2009). District of

Columbia law imposes a one-year statute of limitations for allegations of slander. D.C. Code

§ 12-301(4). The Revised Proposed Amended Complaint alleges that Plaintiffs Valle, Gasca,

Gasca LeBaigue, and Plazas visited Defendants’ restaurant on January 5, 2019, Rev. Proposed

Am. Compl. ¶ 21, and that Defendants’ employees falsely accused them of stealing from the

restaurant and threatened to call the police—all within the hearing of the restaurant’s other

patrons and passers-by on the sidewalk, id. ¶¶ 151–52. Plaintiffs did not bring their slander

claim until August 19, 2020—more than nineteen months after the alleged incident—so the

statute of limitations bars the new count on its face.




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       But “[i]n limited circumstances, Rule 15(c) saves an otherwise untimely amendment by

deeming it to ‘relate back’ to the timely-filed claims the plaintiff alleged in the original

complaint.” Jones, 557 F.3d at 674 (quoting Fed. R. Civ. P. 15(c)). “An amendment to a

pleading relates back to the date of the original pleading when . . . the amendment asserts a claim

. . . that arose out of the conduct, transaction, or occurrence set out—or attempted to be set out—

in the original pleading.” Fed. R. Civ. P. 15(c)(1)(B). “[R]elation back is improper when the

amended claim ‘asserts a new ground for relief supported by facts that differ in both time and

type from those the original pleading set forth.’” Jones, 557 F.3d at 674 (quoting Mayle v. Felix,

545 U.S. 644, 650 (2005)). To be sure, it is conceivable that the Plaintiffs’ slander allegations

relate back to their original allegations of civil rights violations and false imprisonment.

Plaintiffs make no such argument, however, see Supp. Reply at 5–6, and so have conceded

Defendants’ argument, see Canen v. Wells Fargo Bank, N.A., 118 F. Supp. 3d 164, 167 (D.D.C.

2015). The Court need not reach any of the other arguments in Defendants’ Opposition.

                                         III.    Conclusion

       Plaintiffs have shown good cause for amending the Complaint under Federal Rule of

Civil Procedure 16. The Court therefore deems the Revised Proposed Amended Complaint filed.

However, because the proposed Count IV is time-barred under D.C. law, the Court strikes that

portion of the Revised Proposed Amended Complaint as futile.



DATE: September 11, 2020
                                                               CARL J. NICHOLS
                                                               United States District Judge




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